

ON REMAND

PER CURIAM.
This case is on remand from the Florida Supreme Court for reconsideration in light of Hilton v. State, 961 So.2d 284 (Fla.2007). See Perez-Garcia v. State, 983 So.2d 578 (Fla.2008), quashing 917 So.2d 894 (Fla. 3d DCA 2005). As in State v. Howard, 983 So.2d 671 (Fla. 1st DCA 2008), and D.E.M. v. State, 985 So.2d 1222 (Fla. 3d DCA 2008), we think it appropriate also to remand the case to the trial court for further consideration consistent with Hilton, 961 So.2d at 284.
Remanded.
